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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SHANE CAMPBELL GALLERY, INC., on                     Case No. 18-cv-5134
behalf of itself and all others similarly
situated,

                       Plaintiff,
                                                     SECOND AMENDED CLASS ACTION
       v.                                            COMPLAINT

FRIEZE EVENTS, INC.,
                                                     DEMAND FOR JURY TRIAL
                       Defendant.



       Plaintiff Shane Campbell Gallery, Inc., by its attorneys, brings this class action against

Frieze Events, Inc. (“Frieze”), on its own behalf and on behalf of all others similarly situated, and

alleges as follows:

                                    I.      INTRODUCTION

       1.      This is a class action filed on behalf of hundreds of art galleries and other persons

(“Exhibitors”) who paid substantial sums to participate in the 2018 Frieze Art Fair held on

Randall’s Island in New York. Defendant Frieze, in form written contracts, promised each

Exhibitor, among other things, to “use commercially reasonable efforts to provide common area

… air conditioning.” Defendant breached this contractual promise by failing to properly design,

specify, test, commission, supervise, and regulate the ability of the air conditioning system at the

Art Fair to maintain an environment within which Exhibitors could reasonably conduct

commercial business. Defendant has admitted it was aware in advance of an impending heatwave

with expected “record-breaking temperatures” but was negligent in preparing the site for such heat

and ensuring a reasonably performing air conditioning system. As a direct result of the oppressive



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heat and unworkable interior climatic conditions, art customers, collectors, consultants and their

clients and other attendees could not remain in the site and were forced to leave. As such, the

Exhibitors were prevented from engaging in their commercial endeavors and suffered substantial

financial losses. This lawsuit seeks rescission of the contracts the Exhibitors signed with Frieze,

and reimbursement of all sums paid for participation at the Art Fair.

                                II.   JURISDICTION AND VENUE

        2.     This Court has personal jurisdiction over the parties in this case.

        3.     Plaintiff is a citizen of Chicago, Illinois.

        4.     This Court has personal jurisdiction over Frieze Events, Inc. because it is a New

York corporation that intentionally avails itself of the laws of this State through its staging of the

Frieze Art Fair held from May 2, 2018 to May 5, 2018, at Randall’s Island Park, New York, NY.,

so as to render the exercise of jurisdiction by this Court consistent with traditional notions of fair

play and substantial justice.

        5.     This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

(“CAFA”), 28 U.S.C. § 1332(d). Jurisdiction under CAFA is met because the proposed number

of putative class members exceeds 100, at least one plaintiff and one defendant are citizens of

different states, and the amount in controversy, including, but not limited to the aggregate amount

of relief sought by absent class members, exclusive of interest and costs, exceeds $5 million.

        6.     Venue is proper in this District under 28 U.S.C. § 1391(a). Substantial acts in

furtherance of the alleged improper conduct, including Frieze’s breach of its contracts with

Plaintiff and Class members occurred within this District.

        7.     No other forum would be more convenient for the parties and witnesses to litigate

this action.




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                                         III.    PARTIES

       8.      Plaintiff Shane Campbell Gallery, Inc. is a corporation that is a citizen of the State

of Illinois with a place of business located at 2021 S. Wabash Avenue, Chicago, IL 60616.

       9.      Defendant Frieze is a New York corporation with a principal place of business

located at 247 Centre Street, 5th Floor, New York, NY 10013.

                                 IV.   FACTUAL ALLEGATIONS

       10.     The Frieze Art Fair (“Fair”) is an art fair that has been held in New York every May

since 2012. In 2018, the Fair was scheduled to take place at Randall’s Island Park from May 2,

2018 through May 5, 2018

       11.     Plaintiff Shane Art Gallery has applied and been accepted to participate in the Fair

each year since its inception.

       12.     For 2018, Frieze advertised to galleries and artists as follows: “Introducing a fresh

layout, new curators, and programs, Frieze New York 2018 brought together more than 190

galleries from 30 countries, showcasing the world’s most significant artists, a series of talks, and

the city’s most talked about restaurants, all in a bespoke structure in Randall’s Island Park.”

       13.     The new structure for the Fair utilized by Frieze differed in significant respects

from prior venues. In particular, instead of one long, snaking tent, Frieze installed many separate

tents forming discrete sections. The air conditioning vents that had previously been located on the

floor were relocated to the upper levels of the tents.

       14.     Plaintiff entered into a contract entitled “Exhibition Terms and Conditions” (the

“Contract”) with Frieze to become an Exhibitor at the Fair. A copy of the Contract is attached

hereto as Exhibit A.

       15.     The Contract is a standard form contract used by Frieze in each transaction with




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members of the Class.

        16.     Frieze entered into the Contract with approximately 190 Exhibitors from the United

States and dozens of other countries for the Fair. Each Exhibitor paid Frieze approximately $78.50

per square foot for booths ranging from approximately 431 to 1,292 square feet to participate in

the Fair. Frieze also charged a surcharge of up to 15% for “privileged locations” such as corner

booths and booths on the open squares.

        17.     The Contract provided, inter alia, as follows:

                a.      Exhibitors were prohibited from participating in any other fairs located in

New York for the duration of the Fair, Contract at ¶ 7;

                b.      Exhibitors were required to keep their booths sufficiently manned during

the time the Fair was open, id.;

                c.      Frieze had the sole and absolute discretion to place the location of each

Exhibitor’s booth at the Fair, id. at ¶ 9;

                d.      Frieze had the right to enter any part of the Fair premises at any time to

execute work or repairs, or for other purposes, id.;

                e.      Frieze agreed to use commercially reasonable efforts to provide common

area air conditioning, id. at ¶ 18;

                f.      Exhibitors were prohibited from installing their own power or connection,

id.

        18.     Weather forecasts prior to the beginning of the Fair indicated the weather would be

hot and sunny with temperatures approaching the high 80s degrees.

        19.     According to Accuweather, the outdoor temperature on Randall’s Island reached

90 degrees on May 2; 93 degrees on May 3; and, 84 degrees on May 4, 2018.




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       20.      The temperatures on May 2 and 3, 2018 broke daily record highs.                    See

https://www.weather.gov/media/okx/Climate/Almanacs/nyc/nycmay.pdf              (Central   Park,    NY

Historical Data, Monthly Almanacs) (last visited March 3, 2020).

       21.      Frieze failed to properly design, test and regulate the ability of the air conditioning

system at the Fair to adequately maintain an environment within which to conduct commercial

business.

       22.      Frieze failed to use commercially reasonable efforts to design, specify, construct,

test and regulate the air conditioning system in the following ways:

                a.     by failing to use a sufficiently qualified and skilled independent HVAC

designer or engineer to design and/or specify an air conditioning system to adequately cool the

event space; and/or

                b.     by failing to properly design, specify, test, commission, supervise and take

responsible charge and complete expected professional due diligence to provide the necessary

blueprints and other documentation for a properly operating and performing air conditioning

system to the company that was hired to design, construct, test, regulate and/or install the air

conditioning system; and/or

                c.     by failing to take into consideration the known weather forecast for the days

of the event when designing the air conditioning system; and/or

                d.     by failing to design, construct, test, regulate and/or install an air

conditioning system that would sufficiently provide cooling for temperatures reaching 93 degrees

Fahrenheit; and/or

                e.     by failing to take into consideration the expected and foreseeable seasonal

solar insolation (solar energy gain) when designing/specifying the subject air conditioning system;




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and/or

               f.      by failing to take into consideration the cooling load that would be

generated by the internal heat gain of lighting systems used in the event space in designing the air

conditioning system; and/or

               g.      by failing to take into consideration the cooling load that would be

generated by providing fresh outdoor air (sensible and latent) in the amounts of 15-30 cubic feet

per minute (or more) per person as mandated by applicable codes and/or good engineering practice;

and/or

               h.      by failing to take into consideration the cooling load that would be

generated by exhausting air (sensible and latent) in the amounts as mandated by applicable codes

and/or good engineering practice; and/or

               i.      by failing to take into consideration the cooling load (sensible and latent)

that would be generated by the scientifically established data for internal heat gain from each

person and the historic data on the previous attendance and established occupancy loads in the

event space in designing the air conditioning system; and/or

               j.      by failing to take into consideration the cooling load that would be

generated by the electrical and/or mechanical equipment in the event space in designing the air

conditioning system; and/or

               k.      by failing to take into consideration the additional cooling load for solar

gain that would occur with the particular material used to construct the tent; and/or

               l.      by failing to provide sufficient generating capacity and power quality

(proper voltage, frequency, and within manufacturer’s quality standards) of electric generators to

provide power for the air conditioning systems including but not limited to: chilled water systems,




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direct expansion units, blowers, air handlers, pumps and/or other HVAC equipment; and/or

                m.     by failing to order and install sufficient chilled water systems or other air

conditioning equipment to adequately cool the event space; and/or

                n.     by failing to order and install sufficient air handlers to adequately cool the

event space; and/or

                o.     by failing to order and install sufficient direct expansion units to adequately

cool the event space; and/or

                p.     by failing to order and install sufficient flexible hosing to adequately deliver

cool air generated by the installed equipment; and/or

                q.     by failing to order and install sufficient ducting to adequately deliver cool

air generated by the installed equipment in sufficient volumetric air flow; and/or

                r.     by failing to order and install sufficient humidity, climate, and thermostatic

controls in the event space to properly control the HVAC equipment; and/or

                s.     by failing to design a method for distribution of air in volumetric flow

consistent with well established design and good engineering practice; and/or

                t.     by failing to design a method for sufficiently delivering cool air generated

by the installed equipment to the event space, e.g. by way of floor vents as was done in the past to

adequately cool the space, and instead using ducts along the ceiling; and/or

                u.     by failing to provide sufficiently qualified personnel and/or HVAC

technicians to monitor the air conditioning system during the event and make necessary corrections

of the deficiencies; and/or

                v.     by failing to construct the tent(s) properly to prevent unwanted air

infiltration; and/or




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                w.         by failing to comply with New York City Building Code section 1204.2

which states that interior spaces intended for human occupancy that are provided with air

conditioning shall be provided with active or passive systems that are capable of maintaining 78

degrees Fahrenheit at 50% relative humidity when the outdoor temperature is 89 degrees

Fahrenheit; and/or

                x.         by failing to comply with applicable standards established by the American

Society of Heating, Refrigerating, and Air Conditioning Engineers (ASHRAE), or other standards

of good engineering practice; and/or

                y.         by failing to run the system full time so as to allow the event space to reach

a sufficient temperature to remain cool throughout the daytime hours; and/or

                z.         by failing to sufficiently supplement the air conditioning system during the

event with commercial portable air conditioners when it became evident that the system, as

designed, was incapable of adequately cooling the event space.

        23.     Within the first hour of the opening day, the heated temperatures in the tent were

oppressive.

        24.     Frieze was aware of the problem but took no action to correct it.

        25.     The temperature continued to rise, to the point that many Exhibitors, their staff,

other attendees such as collectors, consultants and curators were unable to bear the heat and were

forced to exit the tent.

        26.     Collectors and consultants who had made appointments with Plaintiff to visit its

exhibit notified Plaintiff that they could not stay there due to the heat; others never even kept their

appointments.

        27.     Many people became ill from the conditions.




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       28.      Frieze did not adequately respond to the problems resulting from the high

temperatures within the tent and breached its obligation to use commercially reasonable efforts to

provide common area air conditioning.

       29.      Frieze’s breach resulted in damages incurred by Plaintiff and other Exhibitors.

Plaintiff and other Exhibitors all paid substantial fees to Frieze in consideration of obtaining

exhibit space to conduct their businesses.

       30.      Following the conclusion of the Fair, Plaintiff sought to negotiate a return of all

fees paid to Frieze in connection with their participation in the Fair.

       31.      In response, Frieze offered to return five percent (.05%) of the fees that Plaintiff

had paid.

       32.      Frieze’s offer is insufficient to compensate Plaintiff and other Exhibitors for

Frieze’s failure to use commercially reasonable efforts to provide common space air conditioning

and its negligence as described above.

                                 V.      CLASS ALLEGATIONS

       33.      Plaintiff brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of itself and all other similarly situated art galleries and individuals who

entered into the Contracts with Frieze to participate in the Fair that took place in Randall’s Island

Park from May 2, 2018 through May 5, 2018 (the “Class”).

       34.      Excluded from the Class are counsel for the parties, the judges assigned to this case

and the members of their immediate families, officers and directors of Frieze; members of the

immediate families of the officers and directors of Frieze; Frieze’s legal representatives, heirs,

successors, or assigns; and any entity in which they have or have had a controlling interest.

       35.      Plaintiff seeks to certify the Class pursuant to Federal Rules of Civil Procedure




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23(a), 23(b)(1), 23(b)(2), and 23(b)(3).

       36.     At this time, Plaintiff does not know the exact number of the Class members.

Plaintiff alleges that there were approximately 190 Exhibitors participating in the Fair. Plaintiff

believes that members of the Class are so numerous that joinder of all members is impracticable.

       37.      There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class that

predominate over questions that may affect individual Class members include whether Frieze

breached the Contract with Plaintiff and members of the Class.

       38.     Plaintiff’s claims are typical of those of the Class because Plaintiff, like all

members of the Class, sustained damages from Frieze’s wrongful conduct.

       39.     Plaintiff will fairly and adequately protect the interests of the Class because

Plaintiff is similarly situated with, and has suffered similar injuries as, the members of the Class it

seeks to represent. Plaintiff is an adequate representative of the Class because its interests do not

conflict with the interests of the Class members it seeks to represent, and it has retained counsel

competent and experienced in conducting complex class action litigation. Plaintiff has no interests

adverse to those of the Class members and will vigorously prosecute this litigation.

       40.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. No Class member has a substantial interest in individually

controlling the prosecution of a separate action.

       41.     The prerequisites to maintaining a class action for injunctive or equitable relief are

met as Frieze has acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive or equitable relief with respect to the Class as a whole.

       42.     Upon information and belief, there are no pending lawsuits concerning the products




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at issue in this case. Concentration of the litigation concerning this matter in this Court is desirable,

and the difficulties likely to be encountered in the management of a class action are not great. The

resolution of the claims of all Class members in a single forum, and in a single proceeding, would

be a fair and efficient means of resolving the issues raised in this litigation.

        43.     The prosecution of separate actions by Class members would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Frieze.

        44.     Frieze’s conduct is generally applicable to the Class as a whole and Plaintiff seeks

remedies with respect to the Class as a whole. As such, Frieze’s systematic policies and practices

make declaratory relief with respect to the Class as a whole appropriate.

        45.     The Class is specifically identifiable to facilitate provision of adequate notice and

there will be no significant problems managing this case as a class action. Notice to the Class can

be made through various means, such as in-store leaflets, website notices, Facebook notices,

notices on the labels of the packages, and/or direct notice to those consumers for which Frieze

knows the e-mail or physical mailing address.

                                   VI.     CAUSES OF ACTION

                                              COUNT 1

                                         Breach of Contract

        46.     Plaintiff re-alleges the foregoing allegations as if set forth in full herein.

        47.     Frieze entered into the Contract with Plaintiff and other members of the Class.

        48.     The Contract set forth affirmations of fact or promises by Frieze relating to the Fair

and became part of the basis of the bargain.

        49.     Plaintiff and members of the Class entered into the Contract. Plaintiff and each

member of the Class paid substantial sums to Frieze in exchange for participating in the Fair as an




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Exhibitor.

          50.   Frieze breached the Contract. This breach resulted in damages to Plaintiff and other

members of the Class, who did not receive the services promised by Frieze.

          51.   As a proximate result of the breach of the Contract by Frieze, Plaintiff and the other

members of the Class did not receive the services promised in return for the substantial sums they

paid to Frieze to participate in the Fair. Plaintiff and the members of the Class therefore have been

injured and have suffered damages in an amount to be proven at trial. Among other things, Plaintiff

and members of the Class did not receive the benefit of the bargain and have suffered other injuries

as detailed above.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands judgment on behalf of itself and the proposed Class

providing such relief as follows:

          A.    Certification of the Class proposed herein under Federal Rules of Civil Procedure

23(a), (b)(1), (b)(2), and (b)(3); appointment of Plaintiff as Class representative; and appointment

of the undersigned counsel as counsel for the Class;

          B.    A declaration that Frieze is financially responsible for notifying members of the

Class of the pendency of this suit;

          C.    Rescission of the Contracts that Plaintiff and Class members entered into with

Frieze;

          D.    An order requiring an accounting for, and imposition of a constructive trust upon,

all monies received by Frieze as a result of the breach of contract alleged herein;

          E.    Restitution, disgorgement, refund, and/or other monetary damages, together with

costs and disbursements, including reasonable attorneys’ fees pursuant to the applicable statutes




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and prejudgment interest at the maximum rate allowable by law;

       F.     Punitive damages in accordance with proof and in an amount consistent with

applicable precedent; and

       G.     Such further relief as this Court may deem just and proper.

                                JURY TRIAL DEMANDED

       Plaintiff and the Class members hereby demand a trial by jury.




DATED: March 5, 2020                        s/ Lewis J. Saul
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